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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                    November 07, 2023
                          UNITED STATES DISTRICT COURT
                                                                                    Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

HOMETRADER, L.L.C.,                            §
                                               §
        Plaintiff,                             §
VS.                                            §   CIVIL ACTION NO. 4:23-CV-1420
                                               §
U.S. BANK, N.A.,                               §
                                               §
        Defendant.                             §

                      ORDER GRANTING MOTION TO DISMISS

       On June 13, 2023 Defendant U.S. Bank National Association not in its individual capacity

but solely as Trustee for RMTP Trust, Series 2021 BKM-TT-V (“Defendant”) filed a Motion to

Dismiss (“Motion”). (ECF No. 8.) The Court set a hearing on the Motion for November 7, 2023.

On November 6, Plaintiff Hometrader, L.L.C. (“Plaintiff”) filed a Sur-Reply stating that “it is

readily apparent that Defendant’s Amended Motion to Dismiss is well reasoned and should be

granted.” (ECF No. 22 at ¶ 1.) Plaintiff requested “that the Court enter an order granting

Defendant’s Amended Motion to Dismiss without the necessity of an oral hearing.” (Id. at ¶ 3.)

       Accordingly, the Court GRANTS Defendant’s Motion (ECF No. 8). Plaintiff’s claims are

hereby DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas, on this the 6th day of November, 2023.



                                                   _________________________________
                                                   KEITH P. ELLISON
                                                   UNITED STATES DISTRICT JUDGE
